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                                     IN THE UNITED STATES BANUPTCY COURT

                                                FOR THE DISTRICT OF DELAWAR

In re:                                                                    )   Chapter 11
                                                                          )
                                                 1
W. R. GRACE & CO., et aI.,                                                )   Case No. 01-1139 (JK)
                                                                          )   Jointly Administered
                                       Debtors.                           )
                                                                                Objection Deadline: June 17, 2009, at 4:00 p.m.
                                                                                          Hearing Date: TBD only if necessary

               NO ORDER REQUIRED CERTIFICATION OF NO OBJECTION
                REGARING NINETY-SIXTH MONTHLY APPLICATION OF
              PACHULSKI STANG ZIEHL & JONES LLP FOR COMPENSATION
             FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES,
               AS CO-COUNSEL TO THE DEBTORS FOR THE PERIOD FROM
              MARCH 1. 2009 THROUGH MARCH 31. 2009 (DOCKET NO. 21898)


                           The undersigned hereby certifies that, as of            the date hereof, he has received no

answer, objection or other responsive pleading to the Ninety-Sixth Monthly Application of

Pachulski Stang Ziehl & Jones LLP ("PSZJ")for Compensationfor Services Rendered and

Reimbursement of Expenses as Co-Counsel to the Debtors for the Period from March 1, 2009

through March 31, 2009 (the "Application"). The undersigned fuher certifies that he has

caused the Cour's docket in this case to be reviewed and no answer, objection or other


i The Debtors consist of
                                  the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/a
                                                       grace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coal

Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (f/a Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (f/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parers (f/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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responsive pleading to the Application appears thereon. Pursuant to the Application, objections

to the Application were to be filed and served no later than June 17,2009.

                        Pursuant to the Administrative Order Under 11 U.S.c. §§ 105(a) and 331

Establishing Procedures for Interim Compensation and Reimbursement of                               Expenses for

Professionals and Offcial Committee Members (the "Order") dated May 3, 2001, the Debtors

are authorized to pay PSZJ $40,867.20, which represents 80% of                             the fees ($51,084.00), and

$51,311.89, which represents 100% of the expenses requested in the Application for the period

March 1, 2009 through March 31, 2009, upon the filing of this Certification and without the need

for entry of a Court order approving the Application.



Dated: June 18,2009                                              KILAN & ELLIS LLP
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                                                                                       ZIEHL & JONES LLP

                                                                               M,           (
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                                                                 Co-Counsel to Debtors and Debtors-in-Possession




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